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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No.: 22-CR-414 (JEB)
               v.                             :
                                              :
ANDREW JOHNSON,                               :
                                              :
                       Defendant.             :

                    UNITED STATES’ MOTION TO REVOKE RELEASE ORDER

        The United States of America, by and through its undersigned attorney, respectfully moves

the Court pursuant to 18 U.S.C. § 3148(b) to issue a bench warrant for Defendant Andrew Johnson

for violations of the terms of his pretrial release, to revoke his pretrial release order, and detain

him pending the case proceedings in this matter.

        On October 21, 2022, Johnson was charged with misdemeanor conduct relating to his

actions at the U.S. Capitol on January 6, 2021. Johnson was arrested and released on conditions.

On May 5, 2023, Johnson was arrested and charged by Florida local authorities for: (1) driving

with a suspended license, in violation of Fla. Stat. § 322.34 (misdemeanor), and (2) possession of

Cyclobenzaprine, in violation of Fla. Stat. § 893.13 (third degree felony). As set forth below,

Johnson’s conduct is in violation of his release conditions, and he presents a danger to the

community that no release conditions will adequately mitigate. The Court should accordingly grant

this motion, issue a warrant for Johnson’s arrest, and detain Johnson in this matter.

                                         BACKGROUND

   I.      Johnson’s Charges and Release Conditions

        Between approximately 4:00 PM and 5:00 PM, Johnson was on restricted grounds of the

U.S. Capitol, on the Lower West Terrace. At approximately 4:00 PM, Johnson entered the U.S.

Capitol, Senate Room ST-2M, through a broken window. While in that room, another individual

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video recorded others breaking a window and calling to the crowd outside to provide gas masks.

In one video recording that shows broken chairs and an overturned desk, steady banging can be

heard in the background, while Johnson can be seen and heard saying, “We haven’t accomplished

anything here. This door is still closed. We haven’t accomplished anything yet. We haven’t

accomplished shit! We need to go through that fucking door! We’re not done yet. We’re not just

breaking and entering. We’re breaking and entering (inaudible).” Johnson is pictured below in

Senate Room ST-2M in the backwards baseball cap:




       On October 21, 2022, a criminal complaint charged Johnson with four misdemeanor

violations for his actions at the U.S. Capitol on January 6, 2021:

   •   18 U.S.C. § 1752(a)(1) – Entering & Remaining in a Restricted Building or Grounds
   •   18 U.S.C. § 1752(a)(2) – Disorderly & Disruptive Conduct in a Restricted Building or
       Grounds
   •   40 U.S.C. § 5104(e)(2)(D) – Disorderly Conduct in a Capitol Building
   •   40 U.S.C. § 5104(e)(2)(G) – Parading, Demonstrating, or Picketing in a Capitol
       Building

       On December 7, 2022, Johnson was arrested at his residence in Naples, Florida. Following

his arrest, Johnson appeared before U.S. Magistrate Judge Kyle C. Dudek in the Middle District



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of Florida, where he was informed of the charges and his rights. Johnson agreed to waive both an

identity and preliminary hearing. (ECF No. 5).

         On December 22, 2022, Johnson appeared before U.S. Magistrate Judge Moxila A.

Upadhyaya in the District of Columbia. (See Minute Order dated 12/22/22). The government did

not oppose Johnson’s release on conditions.

         The Court ordered Johnson released subject to certain conditions set out in the Court’s

Order Setting Conditions of Release. (ECF No. 9). The release conditions included that Johnson

must not “violate federal, state, or local law while on release” and must not “possess a firearm,

destructive device, or other weapon.” (Id. at 1–2).

   II.        Evidence of Violation of the Johnson’s Pretrial Release Conditions and
              Material Change in Circumstances

              A. Johnson’s Arrest in Collier County, Florida

         According to a Collier County Sheriff’s Office police report, at approximately 8:15 p.m.

on May 5, 2023, a Collier County police officer spotted a vehicle with expired registration tags.

After conducting a search, the officer confirmed that the vehicle’s registration expired on January

27, 2023. He also learned that the registered owner of the vehicle was Johnson, whose Florida

driver’s license was suspended on June 3, 2022. 1 The officer proceeded to pull Johnson over.

         When asked for his driver’s license, Johnson provided the officer with a Connecticut

driver’s license. When asked why he possessed an out-of-state license, Johnson responded that he

had not “switched it over” to Florida. He also falsely claimed to have never had a Florida driver’s




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         On June 3, 2022, Johnson was arrested for and charged with two counts of unauthorized
possession of a driver’s license or identification card, resisting an officer without violence, and
driving under the influence. (See Case No. 22-05419-CF). Those charges remain pending.
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license. An additional search revealed that Johnson’s Connecticut license was suspended in

December of 2022. Johnson was arrested for driving with a suspended license.

       During the officer’s inventory search of Johnson’s vehicle, he discovered a clear, Ziploc

bag in the driver’s side door panel containing twenty-eight (28) beige-colored pills. When

questioned about them, Johnson told the officer that the pills were “muscle relaxers” given to him

by his father. Johnson confirmed that he did not have a prescription for the pills but said that his

father does. The pills were later identified via markers as cyclobenzaprine, a muscle relaxant and

a controlled substance under Florida law. Another pill with the same markings was later discovered

in an Advil bottle inside of Johnson’s backpack. Johnson was ultimately charged with: (1) driving

with a suspended license, in violation of Fla. Stat. § 322.34 (misdemeanor), and (2) possession of

cyclobenzaprine, in violation of Fla. Stat. § 893.13 (third degree felony).

       At his initial appearance on May 5, 2023, bond was set at $10,000. Johnson posted bond

on May 10, 2023 and was released from custody. His arraignment is scheduled for May 30, 2023.

           B. Johnson’s Threatening Posts on Twitter

       Johnson is the known user of the Twitter handle “1_7_t_h” with the display name

“Amuserican Tusrrorist” (with a United States flag in place of the “us” in both words). A

screenshot of the account’s biography, which includes a link to Johnson’s GiveSendGo fundraiser

page, is here:




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       On March 8, 2023, Johnson tweeted, “This isn’t me and ‘I’m’ not holding a gun while on

pre trial release for #j6 . . . Or maybe a bunch of American terrorists are just really pissed off.”

Below the tweet is a photo of Johnson posing in a gas mask with what appears to be a firearm. 2 A

screenshot of the tweet and accompanying photo is depicted here:




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        An agent from the Bureau of Alcohol, Tobacco, Firearms & Explosives believe the
weapon in the photo is a B&T GHM9 pistol equipped with an arm brace.
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       On the same day, Johnson tweeted: “Just some #terrorist being all Terror-E #j6 #Jan6

#j6footage #jan6tapes #jan6th #trumpwon #radical #patriot #revolutionary #revolution #revolt

#donotcomply . . . (P.S. ……this is art).” The second tweet is accompanied by another photo of

Johnson posing with what appears to be the same weapon. A screenshot of the tweet and

accompanying photo is depicted here:




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       Due to Johnson’s distinct arm tattoos, there is no doubt that Johnson is the individual in

the two tweeted photos. Specifically, Johnson’s “3” and “stick man” tattoos are visible on his inner

left forearm in the photos. Those tattoos are also on full display in Johnson’s booking photographs

from his June 3, 2022, arrest in Pinellas County, Florida:




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       In addition, a photo of Johnson wearing what appears to be the same gas mask he is wearing

in the tweeted photos was discovered on Johnson’s son’s Facebook page:




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                                               ARGUMENT

      I.      The Court Should Revoke Johnson’s Release

           The Court should revoke Johnson’s release because there is probable cause to believe he

committed a state crime and because there is clear and convincing evidence that he violated the

release condition that he not possess firearms.

           A. Legal Standard

           Under 18 U.S.C. § 3148(a), “[a] person who has been released under section 3142 of this

title, and who has violated a condition of his release, is subject to a revocation of release, an order

of detention, and a prosecution for contempt of court.” Upon the government’s motion to revoke

a release order, such as the instant motion, “[a] judicial officer may issue a warrant for the arrest

of a person charged with violating a condition of release.” 18 U.S.C. § 3148(b). Once before the

Court,

           [t]he judicial officer shall enter an order of revocation and detention if, after a
           hearing, the judicial officer –
                   (1) finds that there is –
                           (A) probable cause to believe that the person has committed a
                           Federal, State, or local crime while on release; or
                           (B) clear and convincing evidence that the person has violated any
                           other condition of release; and
                   (2) finds that –
                           (A) based on the factors set forth in section 3142(g) . . ., there is no
                           condition or combination of conditions of release that will assure
                           that the person will not flee or pose a danger to the safety of any
                           other person or the community; or
                           (B) the person is unlikely to abide by any condition or combination
                           of conditions of release.
Id.

           Significantly, “[i]f there is probable cause to believe that, while on release, the person

committed a Federal, State, or local felony, a rebuttable presumption arises that no condition or

combination of conditions will assure that the person will not pose a danger to the safety of any



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other person or the community.” Id. (emphasis added).

       Given the recently discovered and material changes in circumstances, the government

moves to revoke Johnson’s release conditions and obtain a bench warrant for his arrest.

       B. Discussion

       Johnson’s release conditions provide that Johnson must not “violate federal, state, or local

law while on release.” (ECF No. 9 at 1). Here, probable cause—already found by a Florida judge

at Johnson’s initial appearance— exists that Johnson committed two violations of Florida state law

while on release: (1) driving with a suspended license, in violation of Fla. Stat. § 322.34

(misdemeanor), and (2) possession of Cyclobenzaprine, in violation of Fla. Stat. § 893.13 (third

degree felony). Thus, the rebuttable presumption that no condition or combination of conditions

will assure Johnson will not pose a danger to the safety of any other person or the community

applies.

       Johnson’s release conditions further provide that Johnson must not “possess a firearm,

destructive device, or other weapon.” (ECF No. 9 at 2). There is clear and convincing evidence

that Johnson was in possession of a firearm as of March 8, 2023. Johnson all but admitted to the

violation in his March 8 tweets.

       Moreover, Johnson’s March 8 tweets demonstrate Johnson’s utter disregard for the court’s

pretrial release order and show that he is unlikely to abide by conditions of release in future. The

tone and nature of the tweets also create real safety concerns for the Florida pretrial services

officers. Understandably, since the discovery of the March 8 tweets, one officer has been hesitant

to conduct further home visits until he can be assured that Johnson is not in possession of any

firearms or other weapons. Thus, Johnson is not a suitable candidate for pretrial supervision.




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                                         CONCLUSION

       WHEREFORE, the government respectfully requests that this Court issue a bench warrant

for Johnson, pursuant to 18 U.S.C. 3148(b), for violating his pretrial release conditions, revoke his

pretrial release order, and detain him pending the case proceedings in this matter.

                                                              Respectfully submitted,

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